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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              MCALLEN DIVISION

UNITED STATES OF AMERICA,                            §
                                                     §
       Plaintiff,                                    §
                                                     §
v.                                                   §      CASE NO. 7:19-CV-407
                                                     §
23.311 ACRES OF LAND, more or less,                  §
situated in HIDALGO COUNTY, STATE                    §
OF TEXAS; and FRANK SCHUSTER FARMS                   §
INC., et al.,                                        §
                                                     §
       Defendants.                                   §

  MOTIONS TO DISMISS AND FOR MORE DEFINITE STATEMENT, AND
SUBJECT THERETO, ORIGINAL ANSWER, AFFIRMATIVE DEFENSES, AND
JURY DEMAND OF DEFENDANTS FRANK SCHUSTER FARMS, INC. AND EL
                  SABINO FAMILY FARMS, LLC

         COMES NOW FRANK SCHUSTER FARMS, INC. and EL SABINO FAMILY

FARMS, LLC, Defendants in the above entitled and numbered cause, and files this their

Motions to Dismiss and For More Definite Statement pursuant to Rules 12(b)(6) and 12(e),

FED. R. CIV. P., for failure to state a claim upon which relief can be granted and for more

definite statement, and subject thereto, their Original Answer, Affirmative Defenses, and

Jury Demand in response to Plaintiff’s Complaint in Condemnation, and would show the

Court as follows:

           MOTION TO DISMISS AND FOR MORE DEFINITE STATEMENT

I.       THE GOVERNMENT HAS FAILED TO FOLLOW THE REQUISITE
         STATUTORY PROCEDURE IN A CONDEMNATION ACTION, AND AS
         SUCH PROCEDURE INVOLVES NECESSARY CONDITIONS PRECEDENT
         TO THE GOVERNMENT’S FILING OF A CONDEMNATION ACTION, THE
         GOVERNMENT LACKS THE AUTHORITY TO ACQUIRE DEFENDANTS’
         PROPERTY THROUGH CONDEMNATION.




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       A.      The Government has failed to meaningfully negotiate with Defendants for
               the property interest sought as required by the Illegal Immigration Reform
               and Immigrant Responsibility Act of 1996 (“IIRIRA”).

       The Government’s authority to acquire property through condemnation is set out in

8 U.S.C. § 1103(b)(2) and (3) which prescribes that the Government must negotiate in good

faith with property owners in an effort to reach a reasonable price for the property interest

it seeks before moving to condemn the land. If the Government and the property owners

are unable to agree on a reasonable price for the interest the Government seeks, then the

Government must proceed through straight-condemnation procedure prescribed by 40

U.S.C. § 3113 (“1888 Condemnation Act”) and Rule 71.1 of the Federal Rules of Civil

Procedure.

       The provisions of IIRIRA require the Government to clearly define the real

property interest it seeks and then attempt to fix a price for it with the property owners. In

its Complaint, the Government has not provided an adequate description of the location,

size, dimensions, number, and type of border fence gates and the manner in which access

will work through the gates after the taking. Further, the Government has not provided an

adequate description of the impact, if any, of the acquisition and proposed infrastructure

on Defendants’ drainage systems serving their Property. As such, the property description

in Plaintiff’s Complaint is inadequate in that it fails to describe the property interest

acquired and is insufficient to allow Defendants to specifically identify what property

rights are actually being taken in the condemnation. In particular, in Schedule E entitled

“Estate Taken” attached to Plaintiff’s Complaint, Plaintiff vaguely alleges that Defendants

will be provided “reasonable access to and from the owners’ lands lying between the Rio

Grande River and the border barrier through opening(s) or gate(s) in the border barrier




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between the westernmost mark labeled “Beginning” and easternmost mark labeled

“Ending” depicted on the map” set forth therein. There are no gates or access points

identified. Moreover, there is inadequate information concerning the acquisition’s impact,

on the Property’s drainage system. Thus, Plaintiff has not legally described the property

interest being acquired and the associated access rights in its condemnation complaint.

       Without information concerning the location, number, dimensions, type, and size

of the border gates and how they will be accessed, together with the acquisitions’ impact

on the Property’s drainage system, Defendants have been unable to fully assess what

property rights are being taken and/or restricted. Defendants have thus been unable to

make an informed response to the Government’s offer of compensation and have been

unable to negotiate as to whether that offer amounts to adequate compensation. Further,

without this information, Defendants are unable to obtain an appraisal of its own by an

independent real estate appraiser because such an appraiser would have to know

specifically what property rights are being taken and/or restricted in order to value them.

       In short, the Government has not told Defendants what it seeks to take from them

and has thus left Defendants in the dark as to what rights and interests it may be negotiating

compensation. Meaningful negotiations, as intended by the IIRIRA, are simply not

possible absent this information.

             ORIGINAL ANSWER SUBJECT TO MOTION TO DISMISS

       COMES NOW DEFENDANTS FRANK SCHUSTER FARMS INC. and EL

SABINO FAMILY FARMS, LLC and, subject to their Motions to Dismiss and for More

Definite Statement, file this their Original Answer and Jury Demand in response to

Plaintiff’s Complaint in Condemnation, and would show the Court as follows:




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                  DEFENDANTS’ RESPONSES TO COMPLAINT IN
                       CONDEMNATION (DOCUMENT 1)

         1.    Defendants are without knowledge sufficient to form a belief as to the truth

of allegations in Paragraph 1.

         2.    The allegations in paragraph 2 are jurisdictional in nature and do not

necessitate a response. Subject thereto, to the extent a response is necessary, Defendants

admit the allegations in paragraph 2, subject to objections and defenses set forth

hereinafter.

         3.    Defendants are without knowledge sufficient to form a belief as to the truth

of allegations in Paragraph 3.

         4.    Defendants are without knowledge sufficient to form a belief as to the truth

of allegations in Paragraph 4.

         5.    Defendants object to the extent that the land to be acquired through

condemnation has not been specifically described and identified as set forth in Defendants’

Motions to Dismiss and for More Definite Statement which are incorporated herein by

reference as if fully copied and set forth at length. Without such description of the property

to be acquired by Plaintiff, Defendants do not know precisely what property rights are

being sought by the Plaintiff and therefore, Defendants deny the allegations of Paragraph

5.

         6.    Defendants object to the extent that the land to be acquired through

condemnation has not been specifically described and identified as set forth in Defendants’

Motions to Dismiss and for More Definite Statement which are incorporated herein by

reference as if fully copied and set forth at length. Without such description of the property




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to be acquired by Plaintiff, Defendants do not know precisely what property rights are

being sought and therefore, Defendants deny the allegations of Paragraph 6.

       7.      Defendants admit that Plaintiff has alleged the amount of its estimate of just

compensation for the property acquired in Paragraph 7 but deny it is the appropriate or

final just compensation including damages to be awarded in this matter for the acquisition

in question. To the extent necessary, Defendants deny the allegations of Paragraph 7.

       8.      Defendants admit they are interested parties in this matter as alleged in

Paragraph 8 and are without knowledge sufficient to form a belief as to the truth of

remaining allegations in Paragraph 8.

       9.      Defendants are without knowledge sufficient to form a belief as to the truth

of allegations in Paragraph 9.

  DEFENDANTS’ RESPONSE TO DECLARATION OF TAKING (DOCUMENT 2)

       1.      Defendants are without knowledge sufficient to form a belief as to the truth

of allegations in Paragraph 1.

       2.      Defendants are without knowledge sufficient to form a belief as to the truth

of allegations in Paragraph 2.

       3.      Defendants object to the extent that the land to be acquired through

condemnation has not been specifically described and identified as set forth in Defendants’

Motions to Dismiss and for More Definite Statement which are incorporated herein by

reference as if fully copied and set forth at length in response to Paragraphs 3, 4, and 5.

Without such description of the property to be acquired by Plaintiff, Defendants do not

know precisely what property rights are being sought by the Plaintiff. Accordingly,




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Defendants are without knowledge sufficient to form a belief as to the truth of allegations

in Paragraph 3, 4, and 5.

       4.      Defendants admit that Plaintiff has alleged and deposited the amount of its

estimate of just compensation for the property acquired in Paragraph as alleged in

Paragraph 6 but deny it is the appropriate or final just compensation including damages to

be awarded in this matter for the acquisition in question. To the extent necessary,

Defendants deny the remaining allegations of Paragraph 6.

       5.      Defendants admit they are interested parties in this matter as alleged in

Paragraph 7 and are without knowledge sufficient to form a belief as to the truth of

remaining allegations in Paragraph 7.

       6.      Defendants deny the allegations in Paragraph 8.

                   DEFENDANTS’ OBJECTIONS AND DEFENSES

       Pursuant to FED. R. CIV. P. 71.1(e)(2), Defendants set out the following objections

and defenses to the Complaint in Condemnation and Declaration of Taking, and would

show as follows:

       1.      Plaintiff has failed to negotiate in good faith and to make a good faith offer

of compensation to Defendants for the property rights being acquired. Such negotiations

and good faith offer are required of Plaintiff under the Illegal Immigration Reform and

Immigrant Responsibility Act of 1996 (“IIRIRA”).

       2.      Plaintiff has failed to adequately describe the property rights it seeks to

acquire through condemnation and therefore its pleadings do not adequately apprise

Defendants of what rights are sought in this lawsuit.




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       3.      Plaintiff has failed to offer just and adequate compensation for the property

rights in seeks to acquire and for market value damages to Defendants’ remainder property.

       4.      Plaintiff’s offer of compensation does not take into consideration the entire

parent tract of Defendants’ property and therefore does not include compensation for

damages to Defendants’ land that is impacted by Plaintiff’s taking.

       5.      Plaintiff has failed to adequately consult under the consultation clause of

the note to Title 8 USCA, section 1103. Said negotiations should be a condition prior to

Plaintiff taking possession of the property.

       6.      Plaintiff has not fully complied with the Uniform Relocation Assistance and

Real Property Acquisition Policies Act of 1970, Title 42 USCA, sections 4601, et seq.

       7.      Plaintiff has failed to state a claim upon which relief can be granted.

       8.      Plaintiff has failed to meet all conditions precedent to the filing of a

condemnation lawsuit.

       9.      Plaintiff’s attempted taking of Defendants’ property is unconstitutional.

       10.     Plaintiff’s attempted taking of Defendants’ property is in violation of the

due process clause of the United States Constitution.

       11.     Plaintiff has exceeded its condemnation powers by proceeding pursuant to

the Declaration of Taking Act (“DTA”), 40 U.S.C. §3114 (1931).

       12.     Plaintiff has exceeded its condemnation powers by failing to abide by the

procedures set forth in the Illegal Immigration Reform and Immigrant Responsibility Act

of 1996 (“IIRIRA”).




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       14.     Defendants reserve all rights it has under Title 28 USCA, section 2412, to

recover attorney’s fees incurred in this condemnation lawsuit. See also USA v. 329.73

Acres of Land, et al., 704 F.2d 800 (5th Cir. 1983) (en banc).

       15.     Defendants reserve the right to file additional objections and defenses if

circumstances change, when a more specific legal description of the property being

acquired is made by the Plaintiff, or any amendments to this action are filed by Plaintiff.

                                 REQUEST FOR JURY

       Defendants request a trial by jury pursuant to Rule 71.1(h)(1)(B) of the Federal

Rules of Civil Procedure to determine just compensation of the land being taken and the

damages to the remainder property.

       WHEREFORE, PREMISES CONSIDERED, Defendants prays that:

       1.      Judgment be rendered denying Plaintiff the right to condemn Defendants’

property;

       2.      Alternatively, if such condemnation is allowed, that Defendants’ Motion for

More Definite Statement be granted and/or objections and defenses set out herein be

considered and that just compensation be determined in accordance with the Fifth

Amendment of the United State Constitution and all applicable statutes;

       3.      Defendants be allowed recovery of attorneys’ fees and other appropriate

litigation expenses pursuant to the Uniform Relocation Assistance and Real Property

Acquisition Policies Act of 1970, 42 U.S.C. § 4654, and the Equal Access to Justice Act,

28 U.S.C. § 2412;

       4.      Defendants request a trial by jury, pursuant to Rule 71.1(h)(1)(B) on the

issue of just and adequate compensation; and




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       5.      Defendants requests the Court grant Defendants such other and further relief

to which it may be entitled.

                               Respectfully submitted,

                               BARRON, ADLER, CLOUGH & ODDO, L.L.P.
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                               ATTORNEYS FOR DEFENDANTS,
                               FRANK SCHUSTER FARMS INC. and EL SABINO
                               FAMILY FARMS, LLC




                           CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(d), no certificate of conference is required for this

Motion.

                                      /s/ Roy R. Brandys
                                      Roy R. Brandys




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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing Defendants’

Motion to Dismiss and For More Definite Statement, and Subject Thereto, Original Answer

and Jury Demand was served upon opposing counsel, to-wit:

                      JOHN A. SMITH, III
                      Assistant United States Attorney
                      Attorney-in-Charge
                      Southern District of Texas No. 8638
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                      One Shoreline Plaza
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                      Telephone: (361) 888-3111
                      Facsimile: (361) 888-3234
                      E-mail: john.a.smith@usdoj.gov

by certified mail, return receipt requested, facsimile transmission, and/or hand delivery,

pursuant to the Federal Rules of Civil Procedure, on this the 21st day of January, 2020.


                                     /s/ Roy R. Brandys
                                     Roy R. Brandys




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